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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION


 SECURITIES AND EXCHANGE
 COMMISSION,

                        Plaintiff,

                v.
                                                                 No.: 4:23-CV-0147-P
 CHRISTOPHER S. KIRCHNER,

                        Defendant,

                -and-

 KFIM LLC,

                         Relief Defendant.


      NOTICE OF APPEARANCE OF ADDITIONAL COUNSEL FOR PLAINTIFF

       Matthew J. Gulde submits this notice of appearance as additional counsel on behalf of

Plaintiff Securities and Exchange Commission and respectfully requests receipt of all notices and

orders from the Court as well as service of all documents filed by the parties.


Dated: February 23, 2023                             Respectfully submitted,

                                                     /s/ Matthew J. Gulde
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                                      Exchange Commission




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                               CERTIFICATE OF SERVICE

       I certify that on February 23, 2023, I electronically submitted the foregoing document
with the clerk of court for the U.S. District Court, Northern District of Texas, Fort Worth
Division, using the electronic case filing system of the court.

                                                   /s/ Matthew J. Gulde
                                                   Matthew J. Gulde




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